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UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION
)
PEOPLE FOR THE ETI-IICAL TREATMENT )
OF ANIMALS, INC., ) Civil Action No. 4: lS-cv-01547
)
Plaintiff, ) Hon. Judge Hughes
)
v. )
)
MICI-IAEL K. YOUNG, in his official capacity )
as President of Texas A&M University, )
)
Defendant. )
)

 

LAINTIFF’S RESPONSE TO DEFENDANT’S PROPOSED DISCOVERY PLAN

The parties, pursuant to this Court’s instructions at the appearance on September 10, 2018,
and this Court’s Managernent Order of September 10, 2018 (ECF 31), submitted their proposed
discovery plans on September 28, 2018 (ECF 37' & 38). During the appearance, the Court indicated
that it would consider the parties’ discovery requests and decide Whether to approve or deny them.
See Exh. l (Hr’g Tr.) at 25: 14-17 (“I dorl’t simply Sit back While the parties try to bankrupt each
other with pointless discovery and excessive demands. I want a defined set of documents If it has
the word ‘all’ in it, it will probably be denied.”).

In an effort to assist the Court in its consideration of Whether to approve or deny the partics’

written discovery requests, Plaintiff, through counsel, respectii_illy submits the followingl:

 

l Plaintiff reserves the right to object to discovery requests that the Court might allow Defendant
to serve, at the appropriate time.

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1. Defendant’s Proposed Discovery Improperly Seeks to Probe the Truth or Falsity of
Plaintifi’s Protected Speech.

This case is about access to the public sections of Texas A&M University’s Facebook page,
which Plaintiff alleges constitutes a public forum. Plaintiff’s viewpoint, as alleged, is that Texas
A&M operates a dog laboratory that is cruel and should be closed. 'l`his viewpoint, and the speech
by which Plaintiff expresses it, are at the very core of the First Amendment.

Defendant’s proposed discovery requests are designed to probe the truth or falsity of
Plaintiff’s speech, as well as Plaintiff’s knowledge of whether its speech is true or false. See Def‘ s
R_FP Nos. 3, 4 (ECF No. 38-1 at 5); Def’s Interrogatories Nos. 6, 7, 8 (ECF No. 38-1 at 8). This
line of inquiry is irrelevant and improper.

Of course, Plaintiff believes its speech to be true.2 If Defendant believes that some
statements PETA has published on Texas A&M's Facebook page are false, then it already knows
what those statements are, and there is no reason for it to seek burdensome and invasive discovery
regarding any other statement The veracity of Staternents made by PETA or its supporters in any
other context or forum are not relevant to this litigation and should not be subject to discovery. So
if any discovery is permissible, it is only that which relates to specific statements, made on Texas
A&M University's Facebook page, that Texas A&M believes are false, and it should be required
to identify them. And while it goes without saying that although Texas A&M might disagree with
PETA's subjective evaluation that the dog labs are “cruel,” that evaluation is PETA's viewpoint
and protected opinion. To the extent Texas A&M censored its Facebook page to eliminate that

viewpoint, that is a concession of viewpoint discrimination, not a basis for invasive discovery. And

 

2 In defamation cases, the district judge has a gatekeeping role to play to determine whether the
defamation defendant’s speech is capable of being proved true or false, at the motion to dismiss
stage. This is not that case because: 1) there is no defamation counterclaim, and 2) PETA’s speech,
as alleged, constitutes protected opinion at the core of the First Amendment. Defendant has no
viable counterclaim on these facts.

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to the extent Texas A&M sought to censor unknown future speech because it was concerned that
PETA would make future false statements, that is a classic unconstitutional prior restraint, see
Near v. Mz`nnesom, 284 U.S. 69”/r (1931), not a basis for invasive discovery

“The remedy for speech that is false is speech that is true. This is the ordinary course in a
free Society. The response to the unreasoned is the rational; to the uninformed, the enlightened; to
the straightout lie, the simple truth.” United States v. Alvarez, 567 U.S. 709, ?27-28 (2012) (citing
Whitney v. California, 2?4 U.S. 357, 377 (1927) (Brandeis, J., concurring) (“If there be time to
expose through discussion the falsehood and fallacies, to avert the evil by the processes of
education, the remedy to be applied is more speech, not enforced silence.”)). Of course, Texas
A&M has ample opportunity to counter PETA’s speech with that of its own in the marketplace of
ideas, including on its Facebook page.

As Justice Holmes so eloquently put it in his famous dissent, “when men have realized that
time has upset many fighting faiths, they may come to believe even more than they believe the
very foundations of their own conduct that the ultimate good desired is better reached by free trade
in ideas_that the best test of truth is the power of the thought to get itself accepted in the
competition of the market, and that truth is the only ground upon which their wishes safely can be
carried out. That at any rate is the theory of our Constitution.” Abrams v. Unfl‘ed States, 250 U.S.
616, 630 (1919) (Holmes, J., with Brandeis, J., dissenting). In the modern era, there is perhaps no
clearer manifestation of the marketplace of ideas than the interactive sections of a public
university’s Facebook page.

Defendant’s censorship of PETA’s content, and that of its supporters, as alleged, violates

these axiomatic principles There is no point wasting the parties’ time and resources in a futile

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attempt at proving Plaintiff‘s protected viewpoint true or false where, regardless of the outcome
of such an inquiry, the speech is nevertheless protected by the First Amendment.

If, for any reason, the Court nevertheless deems Defendant’s proposed discovery to be
warranted in this matter, then such discovery should be reciprocal. Plaintiff would respectfully
request an opportunity to revise its written discovery at that point to take discovery as to the
operations of Texas A&M’s dog laboratories and its public communications regarding those
laboratories, in order to prove the truth of Plaintiff’s speech. Plaintiff did not request such
information in its proposed discovery plan, having heeded the Court’s instruction regarding the
proper scope of discovery, and instead included only requests that are limited in both time and
subject matter. However, in the interest of fairness and reciprocity, Plaintiff should be permitted
to take broader discovery if Defendant’s request to do so is granted.3
2. The Only Relevant Forum is Texas A&M’s Facebook Page.

The Court instructed the parties regarding the proper scope of discovery, cabinng it to
A&M’s Facebook page. See Exh. 1 (Hr’g Tr.) at 25:17-19 (“To the extent that PETA has questions
about the mechanics of the various sites _ we’re only dealing with Facebook now.”). Indeed, this
is the only relevant forum as alleged in the Complaint. This suit does not involve other Texas
A&M forums, whether its other websites or the grounds of the campus, and the Court should so
limit discovery. So Plaintiff limited its requests to this forum.

Defendant did not heed this Court’s instruction Instead, Defendant’s proposed discovery
requests Would impose burdensome search and production costs on Plaintiff by requiring several

dozen of Plaintiff’s potential records custodians across several of Plaintiff’s internal departments

 

3 Likewise, there should be reciprocity regarding what years are subject to discovery. Plaintiff’s
discovery requests date back to 201'? only, whereas Defendant’s date back to 2016.

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to divulge “all content that PETA distributed about TAMU ’s canine research laboratory,” without
limitation, including whether or not such content was ever posted to the relevant Facebook forum.
Def’s RFP No. 2 (ECF No. 38-1 at 5).

Likewise, Defendant requests internal PETA communications or campaign strategies,
without regard to whether they bear any relation whatever to any messages actually posted to
A&M’s Facebook page. This fishing expedition includes the full extent of Plaintiff’ s advocacy
campaigns and investigations_even including those involving institutions other than Texas
A&M. See, e.g., Def’s RFP Nos. 5, 6, 7, 8, 10, ll (ECF No. 38-1 at 5-6); Def’s Interrogatories
Nos. 1, 2, 5, 9, 10, 11, 14 (ECF No. 38-1 at 8-9). These lines of inquiry are irrelevant.

Defendant even seeks information regarding PETA’s operation of its own Facebook page
and social media accounts. See Def’ s RFP Nos. 1, 9 (ECP No. 38-1 at 5-6); Def’ s Interrogatories
Nos. 9, 10, 12 (ECF No. 38-1 at 8-9). Of course, Plaintiff is not a state actor, and the First
Amendment has nothing to say about whether it may exclude others from posting on its Facebook
page. Nor would the First Arnendment provide a remedy were Plaintiff to be blocked from posting
to the Facebook page of another private actor, Indeed, unlike Texas A&M, PETA, as a non-state
actor, has a near absolute First Amendment right to exercise editorial discretion over its Facebook
page. M'iami Hemld Co. v. Tomillo, 418 U.S. 241 (1974). Texas A&M might at best expose PETA
holding itself to different rules than Texas A&M; but those different rules are what the First
Amendment commands, not an incriminating practice by PETA. This line of inquiry is irrelevant

To the extent that Texas A&M seeks this discovery to prove that PETA used channels other
than Texas A&M’s Facebook page to conduct its campaign against the Texas A&M dog labs,
PETA is willing to so stipulate, and evidence of these efforts, being public advocacy campaigns,

are readily avaiiable through other means, as Texas A&M demonstrated in its Motion to Dismiss.

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CONCLUSION
For the foregoing reasons, the Court should deny Defendant’s discovery requests for
information regarding the truth or falsity of PETA’s viewpoint; or, in the alternative, if the Court
permits this line of inquiry, it should allow PETA an opportunity to revise its proposed discovery
requests to probe the truth regarding the A&M dog laboratoryl Additionally, the Court should deny
Defendant’s discovery requests for information regarding Plaintiff s speech activities or internal

communications beyond the relevant forum, which is Texas A&M’s Facebook page.

DATED: October 4, 2018

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